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 1
                                      CERTIFICATE OF SERVICE
 2
             I hereby certify that on June 22, 2018, I electronically filed the foregoing with the Clerk
 3
     of the Court using the CM/ECF system which will send notification of such filing to the
 4
     following persons:
 5
 6
              J. Curtis Edmondson, WSBA #43795                          Via CM/ECF
 7            399 NE John Olsen Avenue                                  Via U.S. Mail
              Hillsboro, Oregon 97124                                   Via Messenger Delivery
 8            Telephone: (503) 336-3749                                 Via Overnight Courier
              Email: jcedmondson@edmolaw.com                            Via Facsimile
 9
10
             DATED this 22nd day of June, 2018.
11
12
                                                   Melinda R. Sullivan
13                                                 Legal Administrative Assistant
14
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       DECLARATION OF EMILIE KENNEDY                                                  FOX ROTHSCHILD LLP
       (2:17-CV-01731-TSZ) - 5                                                      1001 FOURTH AVENUE, SUITE 4500
                                                                                                SEATTLE, WA 98154
                                                                                                     206.624.3600


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